                                                                                      Case 2:19-cv-00531-JCM-DJA Document 14
                                                                                                                          13 Filed 10/10/19
                                                                                                                                   10/03/19 Page 1 of 2



                                                                                  1   Adam P. Segal, Esq., Nevada Bar No. 6120
                                                                                      Christopher M. Humes, Esq., Nevada Bar No. 12782
                                                                                  2   BROWNSTEIN HYATT FARBER SCHRECK, LLP
                                                                                  3   100 North City Parkway, Suite 1600
                                                                                      Las Vegas, NV 89106-4614
                                                                                  4   Telephone: 702.382.2101
                                                                                      Facsimile: 702.382.8135
                                                                                  5   Email: asegal@bhfs.com
                                                                                             chumes@bhfs.com
                                                                                  6

                                                                                  7   Attorneys for Plaintiffs

                                                                                  8
                                                                                                                        UNITED STATES DISTRICT COURT
                                                                                  9
                                                                                                                            DISTRICT OF NEVADA
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10

                                                                                 11
                                            100 North City Parkway, Suite 1600




                                                                                      THE BOARD OF TRUSTEES OF THE                   CASE NO.: 2:19-cv-00531-JCM-DJA
                                                Las Vegas, NV 89106-4614




                                                                                 12   CONSTRUCTION INDUSTRY AND
                                                                                      LABORERS HEALTH AND WELFARE
                                                      702.382.2101




                                                                                 13   TRUST; THE BOARD OF TRUSTEES
                                                                                      OF THE CONSTRUCTION INDUSTRY
                                                                                 14   AND LABORERS JOINT PENSION
                                                                                      TRUST; THE BOARD OF TRUSTEES
                                                                                 15   OF THE CONSTRUCTION INDUSTRY
                                                                                      AND LABORERS VACATION TRUST;                    STIPULATION AND ORDER TO DISMISS
                                                                                 16   THE BOARD OF TRUSTEES OF
                                                                                      SOUTHERN NEVADA LABORERS
                                                                                 17   LOCAL 872 TRAINING TRUST,

                                                                                 18                        Plaintiff,

                                                                                 19   v.

                                                                                 20   WESTERN EXPLOSIVES SYSTEMS
                                                                                      COMPANY, a Delaware corporation,
                                                                                 21
                                                                                                           Defendant.
                                                                                 22
                                                                                                 Plaintiffs, the Boards of Trustees of the Construction Industry and Laborers Health and
                                                                                 23
                                                                                      Welfare Trust, the Construction Industry and Laborers Joint Pension Trust, the Construction
                                                                                 24
                                                                                      Industry and Laborers Vacation Trust, the Southern Nevada Laborers Local 872 Training Trust
                                                                                 25
                                                                                      (collectively referred to as “Trust Funds”) and Defendant Western Explosives Systems Company
                                                                                 26
                                                                                      (“WESCO”), by and through their undersigned counsels of record, stipulate and agree to dismiss
                                                                                 27
                                                                                 28

                                                                                      19813107                                          4
                                                                                      Case 2:19-cv-00531-JCM-DJA Document 14
                                                                                                                          13 Filed 10/10/19
                                                                                                                                   10/03/19 Page 2 of 2



                                                                                  1   this action without prejudice, each party to bear its own fees and costs.

                                                                                  2
                                                                                      BROWNSTEIN HYATT FARBER                           CLARK LAW COUNSEL PLLC
                                                                                  3   SCHRECK, LLP
                                                                                  4

                                                                                  5   /s/ Christopher M. Humes                          /s/ Dustin L. Clark
                                                                                      Adam P. Segal, Esq.                               Dustin L. Clark
                                                                                  6                                                     Nevada Bar No. 10548
                                                                                      Nevada Bar No. 6120
                                                                                      Bryce C. Loveland, Esq.                           11700 W. Charleston Blvd., #170-479
                                                                                  7
                                                                                      Nevada Bar No. 10132                              Las Vegas, Nevada 89135
                                                                                  8   Christopher M. Humes
                                                                                      Nevada Bar No. 12782
                                                                                  9   100 North City Parkway, Suite 1600
B ROWNSTEIN H YATT F ARBER S CHRECK , LLP




                                                                                 10   Las Vegas, Nevada 89106-4614

                                                                                 11   Attorneys for Trust Funds                         Attorney for WESCO
                                            100 North City Parkway, Suite 1600
                                                Las Vegas, NV 89106-4614




                                                                                 12   Dated: October 3, 2019.                           Dated: October 3, 2019.
                                                      702.382.2101




                                                                                 13

                                                                                 14                                                 ORDER

                                                                                 15
                                                                                                 IT IS SO ORDERED.
                                                                                 16

                                                                                 17
                                                                                                                            _______________________________________________
                                                                                 18                                         UNITED STATES DISTRICT JUDGE
                                                                                                                                     October 10, 2019
                                                                                 19                                         Dated: _______________________________________

                                                                                 20                                         Case No. 2:19-cv-00531-JCM-DJA
                                                                                 21

                                                                                 22

                                                                                 23

                                                                                 24

                                                                                 25

                                                                                 26

                                                                                 27
                                                                                 28

                                                                                      19813107                                          5
